




NO. 07-07-0246-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



JUNE 27, 2007



______________________________





LESLIE JOSEPH WILLIAMS, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee





_________________________________



FROM THE 237
TH
 DISTRICT COURT OF LUBBOCK COUNTY;



NO. 91-412,296; HON. SAM ABEL MEDINA, PRESIDING



_______________________________



Order of Dismissal
				

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;________________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Leslie Joseph Williams has filed a 
pro se 
notice of appeal from his 1991 conviction. &nbsp;He was required to file his notice of appeal with the clerk of the trial court no later than 30 days after sentence was imposed in open court. &nbsp;
Tex. R. App. P. 26.2
(a)(1). &nbsp;Williams’ notice of appeal was not filed until June 22, 2007. &nbsp;

A timely notice of appeal is essential to invoke our appellate jurisdiction. &nbsp;
In re A.L.B., 
56 S.W.3d 651, 652 (Tex. App.–Waco 2003, no pet.). &nbsp;If the notice is untimely, then the court of appeals can take no action other than to dismiss the proceeding. &nbsp;
Id.

Alternatively, if Williams’ pleading is construed as an application for a post- conviction writ of habeas corpus under art. 11.07 of the Texas Code of Criminal Procedure, we likewise have no jurisdiction. &nbsp;
Runnels v. State, 
804 S.W.2d 278 (Tex. App.–Beaumont 1991, no pet.). &nbsp;Post-conviction writs of habeas corpus are to be filed in the trial court in which the conviction was obtained, made returnable to the Court of Criminal Appeals. &nbsp;
Tex. Code Crim. Proc. Ann. 
art. 11.07 §3 (Vernon 2005). &nbsp;

We dismiss the appeal for want of jurisdiction.



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice



Do not publish.
 &nbsp;
	


